Case 3:23-cr-00026-MEM Document 329 Filed 12/21/23 Page 1 of 4

IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
I
I

Vv CRIMINAL NO.: 3:23-CR-00026-MEM
!
I

CHRISTINA PATACKY-BEGHIN, et al

MOTION FOR CONTINUANCE

TO THE HONORABLE MALACHY E. MANNION,

Petitioner David S. Glanzberg, Esquire, respectfully requests Your Honor to grant this

Motion for Continuance the above captioned matter.

1) Defendant Patacky-Beghin and her family require additional time to make the trip to

Pennsylvania;
2) AUSA Michele Olshefski does not object to this Motion for Continuance;

3) Petitioner, David S. Glanzberg, Esq, respectfully submits the following dates for the
Courts’ consideration: January 16", 17" or 18 2023 at 1:30pm.

WHEREFORE, Petitioner humbly requests for this matter to be continued to allow

Defendant Patacky and her family to make the trip from the West Coast to Pennsylvania.
Respectfully Submitted,
/s/ DAVID GLANZBERG

DAVID S. GLANZBERG, ESQ
CJA Appointed Counsel

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IN THE UNITED STATES DISTRICT COURT
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CHRISTINA PATACKY-BEGHIN, et al

CERTIFICATE OF SERVICE

I hereby certify that on December 21*', 2023, I filed the foregoing “Motion for
Continuance” on behalf of Christina Patacky-Beghin with the United States District Court,

Middle District of Pennsylvania.

By:
/s/ David Glanzberg
DAVID S. GLANZBERG, ESQ
CJA Appointed Counsel

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UNITED STATES OF AMERICA
V CRIMINAL NO.: 3:23-CR-00026-MEM

CHRISTINA PATACKY-BEGHIN, et al

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CERTIFICATE OF CONCURRENCE

I, David S. Glanzberg, CJA appointed counsel, certify that | communicated with Michelle
Olshefski, Assistant United States Attorney, and counsel advised that she concurs in the within

motion.

Date: December 21, 2023 /s/ DAVID GLANZBERG
DAVID S. GLANZBERG, ESQ
CJA Appointed Counsel

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IN THE UNITED STATES DISTRICT COURT
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Vv CRIMINAL NO.: 3:23-CR-00026-MEM
!

CHRISTINA PATACKY-BEGHIN, et al

AND NOW, this day of , 2023, upon consideration

of Defendant’s Motion to Continue and the Government’s concurrence therewith, the
Court finds that the ends of justice will be served by affording such an extension. The
Court further finds that an extension outweighs the best interests of the public and the
Defendant in a speedy trial, and that any delay occasioned by this continuance shall be

excluded from speedy trial calculations pursuant to U.S.C. §3161(h)(7).

Accordingly, it is hereby Ordered that Defendant’s Motion is GRANTED.

Defendant shall file pretrial motions no later than ,20___. Jury

Selection and Trial will be scheduled after the expiration of the motion deadline, or, if
one or more pretrial motions are filed, or a motion seeking a further extension of time to
file pretrial motions is granted, after the resolution of any such pretrial motion that may

be filed.

United States District Judge
